              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:19-cv-00178-MR


AMY MICHELLE AUSTIN,        )
                            )
         Plaintiff,         )
                            )
     vs.                    )
                            )                          ORDER
SWAIN COUNTY DETENTION      )
CENTER, et al.,             )
                            )
         Defendants.        )
___________________________ )

      THIS MATTER is before the Court on periodic status review.

      Pro se Plaintiff filed this action pursuant to 42 U.S.C. § 1983 while she

was in the custody of the Swain County Detention Center. [Doc. 1]. The

Complaint passed initial review on claims of unconstitutional conditions of

pretrial detention. [Doc. 9]. The Court ordered the Clerk to mail Plaintiff a

copy of the Order on initial review and blank summons forms to Plaintiff to fill

out and return so that Defendants can be served. [Doc. 9 at 5]. The Clerk

mailed the Order and blank summons forms to Plaintiff, but the mail was

returned as undeliverable with a notation “attempted – not known unable to

forward.” [Doc. 12]. A copy of the Order waiving the initial partial filing fee

was also returned as undeliverable. [Doc. 11].



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      Plaintiff was notified upon commencement of this action that it is

“Plaintiff’s responsibility to keep the Court advised of his/her current address

at all time” and “[i]f the Plaintiff’s address changes and no Notice [of Change

of Address] is promptly filed with the Clerk of Court, this case may be

dismissed for lack of prosecution.” [Doc. 4 at 2].

      It appears that Plaintiff may have abandoned this action. Plaintiff shall

file, within ten (10) days of this Order, the completed summons forms so that

Defendants may be served. Failure to comply with this Order will result in

dismissal of this action without prejudice and this case’s closure without

further notice.

      IT IS, THEREFORE, ORDERED that Plaintiff shall have ten (10) days

from the date of this Order in which to fill out and return the completed

summons forms. If Plaintiff fails to do so, this case will be dismissed without

prejudice and closed without further notice to Plaintiff.

      The Clerk is instructed to mail a copy of this Order, the Order on initial

review [Doc. 9] and blank summons forms to Plaintiff.

      IT IS SO ORDERED.




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